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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                                CRIMINAL ACTION NO. 3:14-CR-15
                                                    (JUDGE GROH)

  DARRELL S. LOGAN,

                Defendant.



        ORDER DENYING DEFENDANT’S MOTION FOR APPROPRIATE RELIEF

        On August 26, 2014, Defendant Darrell Logan, by counsel, filed a motion

  requesting this Court provide “a complete instruction of ‘reasonable doubt’ and the

  opportunity to address the instruction in closing argument.” ECF 130. Defendant

  requests that this Court provide Defendant’s attached proposed jury instruction

  regarding reasonable doubt rather than the jury instruction generally provided by this

  Court. The United States did not file a response to Defendant’s motion.

         It is well-established that in the Fourth Circuit, “although the district court may

  define reasonable doubt to a jury . . . the district court is not required to do so.” United

  States v. Lighty, 616 F.3d 321, 380 (4th Cir. 2010) (quoting United States v. Walton,

  207 F.3d 694, 696-97 (4th Cir. 2000) (en banc)); see also United States v. Williams, 152

  F.3d 294, 298 (4th Cir. 1998) (“The trial court is not required to define reasonable doubt

  as a matter of course so long as the jury is instructed that a defendant’s guilt must be

  proven beyond a reasonable doubt.”). Indeed, “even if the jury requests a reasonable-
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  doubt instruction, ‘the final decision of whether to acquiesce to a jury’s request and

  define reasonable doubt’ is left to the district court’s discretion.” Id. The Fourth Circuit

  is reluctant to require a jury instruction defining reasonable doubt because “attempting

  to explain the words ‘beyond a reasonable doubt’ is more dangerous than leaving a jury

  to wrestle with only the words themselves.’” Id.

         This Court’s jury instruction regarding reasonable doubt provides

         The defendant is not on trial for any acts or crimes not alleged in the
         Indictment. Your job is limited to deciding whether the Government has
         proven the crime charged beyond a reasonable doubt.

         A reasonable doubt means in law just what the words imply, a doubt
         based upon reason and common sense. The meaning of reasonable
         doubt is self-evident. Therefore, the Court will not attempt to further define
         the term.

         It is not required that the Government prove guilt beyond all possible
         doubt. The test is one of reasonable doubt.

  This Court is not required to explain the words reasonable doubt any more than what is

  provided in the Court’s current instruction. Indeed, “[t]here is no constitutional

  requirement to define reasonable doubt to a jury.” Walton, 207 F.3d at 696; see also

  Victor v. Nebraska, 511 U.S. 1, 5 (1994) (stating that “the Constitution neither prohibits

  trial courts from defining reasonable doubt nor requires them to do so as a matter of

  course”). Defendant relies on the dissent in United States v. Walton for his proposed

  jury instruction regarding reasonable doubt. However, it would be inappropriate for this

  Court to rely on the dissent in this case as the majority opinion is controlling precedent.

         Accordingly, the Defendant’s motion is DENIED.

         The Clerk is directed to transmit copies of this Order to all counsel of record



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  and/or pro se parties.

        DATED: September 17, 2014




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